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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION

THE REVOCABLE LIVING TRUST OF                       §
JUDITH A. DUNN DATED DECEMBER                       §
16, 1996 JUDITH A. DUNN, TRUSTEE,                   §
                                                    §
                Plaintiff,                          §
                                                    §
v.                                                  §                   1:18-CV-371-RP
                                                    §
QUICKEN LOANS, INC., et al.,                        §
                                                    §
                Defendants.                         §

                                      AGREED JUDGMENT

        Came on to be considered the above-numbered and styled action wherein Plaintiff/Counter-

Defendant The Revocable Living Trust of Judith A. Dunn Dated December 16, 1996 Judith A.

Dunn, Trustee (“Plaintiff”), and Defendant/Counter-Plaintiff/Cross-Plaintiff CIT Bank, N.A., as

assignee for Quicken Loans, Inc. (“CIT Bank” or “Defendant”), and Defendants/Cross-Defendants

Edwin A. Smith, III and Ranene C. Smith (the “Smiths”) and together with Plaintiff and CIT Bank,

the “Parties”) announced to the Court that they desire to resolve certain matters in controversy

between them. The Plaintiff has filed a Motion to Dismiss its claim against Defendants Edwin A.

Smith, III and Ranene C. Smith without prejudice. The announcement of settlement resolves all of

the causes of action still pending. In light of the agreement of the Parties as expressed in this

Agreed Judgment and as shown by their signatures below, it is:

        ORDERED, ADJUDGED AND DECREED that CIT Bank, N.A. is the current

owner and holder of the Fixed/Adjustable Rate Note with Payment Options (the “Note”), executed by

Edwin A. Smith, III and Ranene C. Smith on May 9, 2007 in the original principal amount of

$824,575.00 in favor of Quicken Loans, Inc. and beneficiary of that certain Deed of Trust (the

“Security Instrument” and together with the Note, the “Loan”), recorded in the Official Public

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Records of Travis County, Texas on June 8, 2007 as Instrument No. 2007104829, as evidenced by

that certain Texas Assignment of Deed of Trust recorded on February 20, 2018 as Instrument

No. 2018024590 in the Official Public Records of Travis County Texas. It is further

        ORDERED, ADJUDGED AND DECREED that the Deed of Trust represents,

among other things, a lien interest that is superior to that certain Deed of Trust that Plaintiff

recorded on April 26, 2012 in the Official Public Records of Travis County as Instrument No.

2012065218 ("Plaintiff's Lien Interest") pursuant to an agreed judgment in an Adversary

Proceeding between Plaintiff and the Smiths, filed in Case No. 11-01010 in the United States

Bankruptcy Court for the Western District of Texas, Austin Division. It is further

       ORDERED, ADJUDGED AND DECREED that CIT Bank, as the current owner of

the Note and mortgagee of the Security Instrument, holds a first lien security interest on that

certain real property located at 6021 Circle J Loop, Marble Falls, Texas 78654, and more

particularly described as:

                LOT TWO (2), CIRCLE J RANCH, LAKESIDE ADDITION, A
                     SUBDNISION IN TRAVIS COUNTY, TEXAS,
                 ACCORDING TO THE MAP OR PLAT OF RECORD IN
                                  VOLUME 4, PAGE
                   240, PLAT RECORDS OF TRAVIS COUNTY, TEXAS

(the “Property”). It is further

       ORDERED, ADJUDGED AND DECREED that an event of default has occurred on

the Note. It is further

        ORDERED, ADJUDGED AND DECREED that the following are secured by the

Security Instrument on the Property: the outstanding balance of the Note; prejudgment interest;

post-judgment interest at the Note interest rate of 6.250%; and costs of court. It is further

       ORDERED, ADJUDGED AND DECREED that CIT Bank or its successors or assigns,

may proceed with foreclosure on the Property as provided in the Security Instrument and


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Section 51.002 of the Texas Property Code. It is further

       ORDERED, ADJUDGED AND DECREED that all foreclosure notices to the Smiths

may be mailed to them to Jay P. Lea, Naman, Howell, Smith & Lee, PLLC, 8310 N. Capital of

Texas Hwy., Suite 490, Austin, Texas 78731. It is further

        ORDERED, ADJUDGED AND DECREED that all costs and attorney fees are taxed

against the party incurring same, except that CIT Bank may charge its attorney fees and costs

pursuant to the terms of the Loan. It is further

       ORDERED, ADJUDGED AND DECREED that the claims, if any, of the Revocable

Living Trust of Judith A. Dunn Dated December 16, 1996 Judith A. Dunn, Trustee (“Plaintiff”)

against Edwin A. Smith, III and Ranene C. Smith are dismissed without prejudice. It is further

       ORDERED, ADJUDGED AND DECREED that, except as provided in this Agreed

Judgment, the Parties take nothing on their respective claims against each other. It is further

       ORDERED, ADJUDGED AND DECREED that Plaintiffs claims against Wendy

Alexander are dismissed with prejudice. It is further

       ORDERED, ADJUDGED AND DECREED that, as provided in Federal Rule of Civil

Procedure 62, execution and performance of this Judgment may proceed immediately and is not

stayed under Rule 62(a). It is further

        ORDERED, ADJUDGED AND DECREED that this judgment constitutes a final

judgment that fully and finally disposes of all Parties and all claims and may be appealed.

       SIGNED on September 21, 2020.



                                            ROBERT PITMAN
                                            UNITED STATES DISTRICT JUDGE




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AGREED TO:                       By:     /s/ Mark D. Cronenwett
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                                         Inc.

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